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PlantiSf, No, 20-0R- 4048 -VT3-WEM

 

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Case 5:20-cr-04048-| TS-KEM_ Document 48 Filed 11/12/20 Page 4 of 23
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Here’s how you know

THE UNITED STATES
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ENFORCEMEN MISCONDUCT STATUTE 42 U.S.C. § 14141

 

CONDUCT OF LAW ENFORCEMENT AGENCIES
§ 14141. Cause of action (re-codified at 34 U.S.C. 12601)
(a) Unlawful conduct

It shall be unlawful for any governmental authority, or any agent thereof, or any person acting
on behalf of a governmental authority, to engage in a pattern or practice of conduct by law
enforcement officers or by officials or employees of any governmental agency with
responsibility for the administration of juvenile justice or the incarceration of juveniles that
deprives persons of rights, privileges, or immunities secured or protected by the Constitution or
laws of the United States.

(b) Civil action by Attorney General

Whenever the Attorney General has reasonable cause to believe that a violation of paragraph
(1) has occurred, the Attorney General, for or in the name of the United States, may in a civil
action obtain appropriate equitable and declaratory relief to eliminate the pattern or practice.

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Updated December 20, 2017

 

Was this page helpful?
Yes No 2 2 ee

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18 U.S. Code § 242. Deprivation of rights under color of
law

U.S. Code Notes

 

Whoever, under color of any law, statute, ordinance, regulation, or custom,

willfully subjects any person in any State, Territory, Commonwealth,
Possession, or District to the deprivation of any rights, privileges, or

immunities secured or protected by the Constitution or laws. of the United

nea

States, or to different punishments, pains, or penalties, on account of such
person being an alien, or by reason of his color, or race, than are prescribed
for the punishment of citizens, shall be fined under this title or imprisoned not
more than one year, or both: and if bodily injury results from the acts
committed in violation of this section or if such acts include the use,
attempted use, or threatened use of a dangerous weapon, explosives, or fire,
shall be fined under this title or imprisoned not more than ten years, or both;
and if death results from the acts committed in violation of this section or if
such acts include kidnapping or an attempt to kidnap, aggravated sexual
abuse, or an attempt to commit aggravated sexual abuse, or an attempt to
Kill, shall be fined under this title, or imprisoned for any term of years or for
life, or both, or may be sentenced to death.

~~ Gune 25, 1948, ch. 645, 62 Stat. 696: Pub. L. 90-284, title I, § 103(b), Apr.
11, 1968, 82 Stat. 75; Pub. L. 100-690, title VII, § 7019, Nov. 18, 1988, 102

stat. 4396; Pub. L. 103-322, title VI, § 60006(b), title XXXII, §§ 320103(b),
320201(b), title XXXIII, § 330016(1)(H), Sept. 13, 1994, 108 Stat, 1970,

2109, 2113, 2147; Pub. L. 104-294, title VI, §§ 604(b)(14)(B), 607(a), Oct.
11, 1996, 110 Stat. 3507, 3511.)

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tak

AFFIDAVIT: Right to Travel and Public Records Notice

. AFFIDAVIT: RIGHT TO TRAVEL AND PUBLIC RECORDS NOTICE KNOW -

ALL MEN AND WOMB-MEN BY THESE PRESENTS; that i: Darrell H'Sorey, BEING _
FIRST DULY SWORN, deposes and says as ADMINISTRATIVE NOTICE TO ALL PERSONS,
COURTS, BAR ASSOCIATION MEMBERS, LAW ENFORCEMENT AGENTS, PUBLIC
SERVANTS, TRUSTEES, CORPORATE ENTITIES AND FICTITIOUS ENTITIES:

i am: a NON-CORPORATE: NON FICTITIOUS: NON-RESIDENT: living, breathing, flesh and
blood, naturally born: man and inhabitant, and now affirm, secure, claim and defend my .
UNALIENABLE, SELF-EVIDENT, and INHERENT RIGHT TO TRAVEL, UNREGULATED,
UNMOLESTED AND UNRESTRICTED, upon public walkways, waterways and highways, and to
transport my personal, private, lodial, and/or allodial property, in/with my private automobiles
and/or conveyances, unhindered by any private, corporate or statutory law, code, ordinance,
Department of Motor Vehicles regulation, so called “requirement”, or person.

My unalienable RIGHT TO TRAVEL is affirmed and protected by my Creator; by the organic
Constitution of the several united states (1789), specifically the ninth & tenth amendments; and
by the organic Bill of Rights (1791,) and also upheld numerous times by various courts, including
the Supreme Court, in support of that right. i now explicitly, and without prejudice or recourse,
RESERVE, ASSERT, CLAIM and DEFEND my Right To Travel. Because i can, so long as.ido not
damage property or injure parties.

i expressly RESERVE ALL RIGHTS WITHOUT PREJUDICE or RECOURSE HEREIN AND
HEREAFTER, This AFFIDAVIT becomes constructive filing, administrative Notice and an
evidentiary document submitted upon request or demand of a “Driver License”, registration, or

proof of insurance, and as part of the Official Record of ANY ensuing action. THIS AFFIDAVIT oe

MUST be introduced as evidence in ANY said current or future action.

i: Darrell H-Sorey-am NOT a corporate 14” Amendment “person”, “Operator”, “Resident”,

. “Trustee” or “Operator of a motor vehicle”, as defined in both Bouvier’s and Black's law
' dictionaries, as i am a NON-FICTITIOUS AND NON CORPORATE AND'NON-RESIDENT flesh

and blood man whom is NOT FOR HIRE. ido NOT utilize the public walkways, roadways,
highways or “waterways” for commercial purposes EVER. i am an Article Vy. Section II State
Citizen for the IOWA Republic. The corporate and/or administrative laws, codes and’ statutes

‘also clearly define that a “driver license” is for “drivers” and “motor Vehicles” are involved in
_ commerce only. i am not a driver or operator of a motor vehicle, unless by deception of those’

legal definitions. My PRIVATE and self-propelled “conveyance”/"automobile” is for “travel”
between. point A and point B, and is for non-commercial use, and for my enjoyment and
convenience ONLY.- Anyone in my automobile is a “Guest” and not a “passenger”. Therefor i
declare my private automobile/conveyance/ property is not a “motor vehicle”, as clearly defined
by legal dictionaries, corporate laws, codes, statutes, the corporate State of IOWA Department
of Motor Vehicles; and adequately and clearly defined within United States Code (U.S.C.). These
are YOUR definitions and corporate creations, not mine. : ‘

| _ An Z
i declare my automobile with a “VIN?” of A@CD Ait Way 224588 attached non-
commercial common law plates (pictures attached as “exhibit A” for your records), as my private ©

Page 1 of 13” |
Case 5:20-cr-04048-LTS-KEM Document 48 Filed 11/12/20 Page 9 of 23
AFFIDAVIT: Right to Travel and Public Records Notice

property, household goods and personal conveyance. My Domicille/ Travel ID No. is
262VV9380 (pictures attached as “exhibit B” for your records), and is not a contractual
document nor a document that grants jurisdiction in ANY circumstance.

Moving forward, i cannot in Good Faith apply for a STATE OF IOWA Driver License as i would
be committing PERJURY. I would have to swear, under oath, that I am a “resident” (agent),
“surety”, “trustee” and/or “franchisee” of the corporate STATE OF IOWA when the established
FACTS by AFFIDAVIT herein directly contradict that i am any of those legal definitions. i CAN
NOT be any of those above definitions AND be a living flesh and blood man at the same time,
although i can act as the “Authorized Agent for the separate “person” the STATE OF IOWA
created to have control over my body, assets and property, and to bea beneficiary of the
UNITED STATES indebtedness. My current Driver License was obtained because I wasn’t given
full disclosure (fraud) and it may be kept as a form of identification, or in the event that I do
ever choose to be for hire, but is NOT my consent to be subject to for-profit statutes, codes or
regulations where there is no damaged property, losses or injured parties with a verified &
bonded claim.

ANY action or unverified claim against me lacking articulable and reasonable suspicion that i
committed a crime against an injured party, and/or is carried out without obtaining a warrant
based on that same articulable and reasonable suspicion PRIOR to me being detained, violated,
coerced or impeded is hereby and hereafter declared NULL and VOID ab initio. ANY act to
deprive me of ANY of my constitutionally protected or self-evident rights or inalienable rights or
unalienable rights or inherent rights or Common Law rights is an act of aggression, the
deprivation of my rights, false imprisonment, a violation of their Oath of Office, and a felony in

_addition to being a federal crime pursuant to Title 18 U.S.C (criminal code), Title 28 U.S.C. (Civil
code), and/or, but not limited to Title 42 U.S.C. (civil rights). I reserve all remedies and
recourses in such matters, including but not limited to, holding all parties PERSONALLY
LIABLE for of deprivation of rights, extortion, coercion, kidnapping, false imprisonment, .
racketeering, conspiracy etc. pursuant to Title 42 U.S.C. Section 1983, 1985 & 1988 and the
applicable Uniform Commercial Codes. Precedent for damages has been set at $USD 1.8 million
per day.

“public officials are not immune from suit when they transcend their lawful
authority by invading Rights” _Alecio vs. Woodward, 406 F2d 137t_

This AFFIDAVIT also certifies that I have completed and passed all tests measuring my
competency to safely travel or control my conveyances or private automobiles upon the public
roadways, highways, and even land defined as “waterways” by any State (as well as passed all
tests to drive or operate a motor vehicle in a commercial capacity in the future if I ever so choose
to use the public roadways or highways in such capacity). I am NOT an administrative slave and
as long as I continue to be a peaceful, careful and responsible man, I do NOT need anyone or
anything’s “Permission” to travel; or to exercise ANY of mny rights; or be compelled to relinquish
ANY of my rights or property under the threat of violence or coercion; or to register ANY of my
private property or possessions, despite the phony colorable “laws” created by lobbyists and
corporations in their own self-interest, and then prosecuted in fraudulent “colorable” courts that
have self-proclaimed “authority” over the free and sovereign naturally born inhabitants or
People for We the People, and whom also prosecute innocent and peaceful People and Citizens
for for-profit victimless “crimes”. i expressly do not consent to these obscene corporate bylaws,

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AFFIDAVIT: Right to Travel and Public Records Notice

nor do I waive ANY of my inalienable rights, unalienable rights, self-evident rights, inherent
rights, Natural rights, Creator endowed rights, Constitutionally protected rights, Common law
rights or any other rights not mentioned in this Affidavit, for any reason, EVER.

Please refer to the Laws, case law, codes and Statutes below in support of my claim
of rights in this Affidavit

All immunity of the United States, and all liability of States, instrumentalities of States, and
State officials have been waived under commerce, according to the following US Codes:

Title 15 USC, Commerce, Sec. §1122, ‘Liability of States, instrumentalities of States, and
State officials”

(a) Waiver of Sovereign immunity by the United States. The United States, all agencies and
instrumentalities thereof, and all individuals, firms, corporations, other persons acting for the
United States and with the authorization and consent of the United States, shall not be immune
Jrom suit in Federal or State court by any erson, including any governmental or
nongovernmental entity, for any violation under this Act. (b) Waiver of sovereign immunity
by States, Any State, instrumentality of a State or any officer or employee of a State or
instrumentality of a State acting in his or her official capacity, shall not be immune, under the
eleventh amendment of the Constitution of the United States or under any other doctrine of
Sovereign immunity, Jrom suit in Federal court by any person, including any governmental or

.

nongovernmental entity for any violation under this Act.
Title 42 USC, See. $12202, “State immunity”

A State shall not be immune under the eleventh amendment to the Constitution of the United

es both at law and in equity) are available or such a violation to ‘
edies are available for such a violation in an action against any
public or private entity other than a State

Title 42 USC, Sec. §2000d-7, “Civil rights remedies equalization”
(a) General Provision

United States from suit in Federal court for a violation of section 504 of the Rehabilitation Act
of 1973 [29 U.S.C. 794], title Xx of the Education Amendments o 1972 [20 U.S.C. 1681 et seq.],
the Age Discrimination Act of 1975 [42 U.S.C. 6101 et seq.], title’VI of the Civil Rights Act of
1964 [42 U.S.C. 2000d et seq.], or the provisions of any other Federal statute prohibiting
discrimination by recipients of Federal financial assistance. (2) In a suit against a State for a

00. The Administrative Procedure Act of 1946 gives immunity in Administrative Court to the -
Administrative Law Judge (ALJ) only when an action is brought by the people against a public,

| 23
Case 5:20-cr-04048-LTS-KERE “35ttiment 48 Filed 11/12/20 Page 11 of |
AFFIDAVIT: Right to Travel and Public Records Notice

agency or corporate official / department. Under Title 5 USC, Commerce, public offices or
officials can be sanctioned.
Title 5, USC, See. §551:

(10) “sanction” includes the whole or a Part of an agency—

(A) prohibition, requirement, limitation, or other condition affecting the freedom of a
person;(B) withholding of relief;(C) imposition of penalty or fine;(D) destruction, taking,
seizure, or withholding of Property;(E) assessment of damages, reimbursement, restitution,
compensation, costs, charges, or fees;(F) requirement, revocation, or suspension of a license;
or

(G) taking other compulsory or restrictive action;

Welfare, allow the Petitioner to bring an action against the United States and/or the State

(Declare or undeclared War this fall under TWEA.)
CLARIFICATION OF LANGUAGE. . | |
The corporate STATE OF IOWA has failed to state the meaning or clarify the definition

of words. The places before the Court legal definitions and terms, along with NOTICE OF
FOREIGN STATE STATUS OF THE COT <T. This court, pursuant to the Federal Rules of

', Civil Procedure (FRCP) Rule 4()), is, in fact and at law, a FOREIGN STATE.as defined in

- Title 28 USC $1602; et. seq.; the FOREIGN SOVEREIGN IMMUNITIES ACT of 1976,

. ” Pab. L. 94-583 (hereafter FSIA), and, therefore, lacks jurisdiction in the above captioned

‘case. The above-mentioned “real party in interest” (arr ell H Sorey) hereby _

' demands full disclosure of the true and limited jurisdiction of this court. Any such .
failure violates 18 USC §1001, §1505, and §2331. This now violates the PATRIOT ACT,

Section 800, Domestic terrorism, and the USA FREEDOM ACT. oo
3. There are three different and distinct forms of the “United States” as revealed by this case
law: | * 7 mS oe

Case :20-cr-04048-LTS-KEM "Bocumneht 48. Filed 11/12/20 Page 12 of 23 ..

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AFFIDAVIT: Right to Travel and Public Records Notice

“The high Court confirmed that the term "United States" can and does
mean three completely different things, depending on the context.” Hooven & Allison Co. vs.
Evatt, 324 U.S. 652 (1945) & United States v. Cruikshank, 92 U.S. 542 (1876) & United States v.
Bevans, 16 U.S. 3 Wheat. 336 336 (1818).

The Court and its officers have failed to state which United States they represent, since they can
represent only one, and it’s under Federal Debt Collection Procedure, as a corporation, the
United States has no jurisdiction over the Petitioner. As an American national and as a
discruntled claimant, Petitioner hereby asserts the right of immunity inherent in the 11th
amendment: “The judicial power shail not be construed to extend to any suit in law or equity,
commenced or prosecuted against one of the United States by citizens of another state, or by
citizens of any Foreign State.” This court, by definition is a FOREIGN STATE, and is misusing
the name of this Sovereign American by placing Petitioner’s name in all capital letters, as well as
by using Petitioner’s last nameto construe Petitioner erroneously, as a “person” which is a “term
of art” meaning: a creature of the law, an artificial being, and a CORPORATION or ens legis:

“Ens Legis. L. Lat. A creature of the law; an artificial being, as contrasted with a natural
person. Applied to corporations, considered as deriving their existence entirely from the law.” —
Blacks Law Dictionary, 4th Edition, 1951.

4. All complaints and suits against such CORPORATION, or ens legis, fall under the
aforementioned FSIA and service of process must therefore be made by the clerk of the court,
under Section 1608(a)(4) of Title 28 USC, 63 Stat. 111, as amended (22 U.S.C. 2658)
[42 FR 6367, Feb. 2, 1977, as amended at 63 FR 16687, Apr. 6, 1998], to the Director of
the Office of Special Consular Services in the Bureau of Consular Affairs, Department of State, in
Washington, D.C, exclusively, pursuant to 22 CFR §93.1 and §93.2. A copy of the FSIA must
be filed with the complaint along with “a certified copy of the diplomatic note of transmittal,”
and, “the certification shall state the date and place the documents were delivered.” The
foregoing must be served upon the Chief Executive Officer and upon the Registered Agent of the
designated CORPORATION or FOREIGN STATE.

5: MUNICIPAL, COUNTY, or STATE COURTS lack jurisdiction to hear any case since they fall
under the definition of FOREIGN STATE, and under all related definitions below. Said
jurisdiction lies eee “district court of the United States,” established by Congress in the
states under Article III of the Constitution, which are “constitutional courts” and do not
include the territorial courts created under Article'TV, Section 3, Clause 2, which are
“legislative” courts. Hornbuckle v. Toombs, 85 U.S. 648, 21 L.Ed. 966 (1873), (See Title 28
USC, Rule 1101), exclusively, under the FSIA Statutes pursuant to 28 USC §1330.

6. It is an undisputed, conclusive presumption that the above-mentioned real party in interest is
a not a CORPORATION, and, further, is not registered with any Secretary of State as a
CORPORATION. Pursuant to Rule 12(b)(6), the Prosecuting Attorney

‘Leber € Deegan, Yb has failed to state a claim for which relief can be granted to the
Petitioner. This is'a FATAL, DEFECT, and, therefore, the instant case and all related matters
must be DISMISSED WITH PREJUDICE for lack of in personam, territorial, AND subject

matter jurisdiction, as well as for improper Venue pursuant to the 11th amendment Foreign
State Immunity.

7- Moreover, the process in the above-captioned case is not “regular on its face.”

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AFFIDAVIT: Right to Travel and Public Records Notice

TABLE OF DEFINITIONS

Regular on its Face -- “Process is said to be “regular on its face” when it proceeds from the
court, officer, or body having authority of law to issue process of that nature, and which is legal
in form, and contain nothing to notify, or fairly apprise any one that it is issued without
authority.”

Foreign Court: The courts of a foreign state or nation. In the United States, this term is
frequently applied to the courts of one of the States when their judgment or records are
introduced in the courts of another. Foreign jurisdiction: Any jurisdiction foreign to that of

Foreign laws: The laws of a foreign country, or of a sister state. In conflicts of law, the legal
principles of jurisprudence which are part of the law of a sister state or nation, Foreign laws are
additions to our own Jaws, and in that tespect are called “jus receptum.”

Foreign corporation: A corporation doing business in one State though chartered or
incorporated in another state is a foreign corporation as to the first State, and, as such, is

state. Under federal tax laws, a foreign corporation is one which is not organized under the law
of one of the States or Territories of the United States. I.R.C. § 7701 (a) (5). Service of process
on foreign corporation is governed by the Fed. R. Civ. P. 4 See also Corporation.

Foreign service of process: Service of process for the acquisition of jurisdiction by a court in
the United States upon a person in a foreign country is prescribed by Fed R. Civ. P. 4 (i) and
28 U.S.C.A. § 1608. Service of process on foreign corporations is governed by Fed. R. Civ. P.
4(d) (3).

Foreign states: Nations which are outside the United States, Term may also refer to another
State; i.e. a sister state.

Foreign immunity: With respect to jurisdictional immunity of foreign states, see 28 USC,
Sec. $1602 et seq. Title 8 USC, Chapter 12, Subchapter I, Sec. §1101(14) The term
“foreign state” includes outlying possessions of a foreign state, but self-governing dominions or
territories under mandate or trusteeship shall be regarded as separate foreign states.

Profiteering: Taking advantage of unusual or exceptional circumstance to make excessive
profit; e.g. selling of scarce or essential goods at inflated price during time of emergency or war.

Person: In general usage, a human being (i.e. natural person) though by statute the term may
include a firm, labor organizations, partnerships, associations, corporations, legal
representative, trusts, trustees in bankruptcy, or receivers, National Labor Relations Act,
§2(1). Definition of the term “person” under Title 26, Subtitle F, Chapter 75,
Subchapter D, Sec. Sec. §7343

The term “person” as used in this chapter includes an officer or employee of a corporation, or a
member or employee of a partnership, who as such officer, employee or member is under a duty

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to perform the act in respect of which the violation occurs.

A corporation is a ’person” within the meaning of equal protection and due process provisions
of the United States Constitution.

Tertius interveniens: A third party intervening; a third party who comes between the parties
to a suit; one who interpleads. Gilbert's Forum Romanum. 47.

Writ of error coram nobis A common-law writ, the purpose of which is to correct a judgment

-in the same court in which it was rendered, on the ground of error of fact, for which it was
statutes provides no other remedy, which fact did not appear of record, or was unknown to the
court when judgment was pronounced, and which, if known would have prevented the
judgment, and which was unknown, and could of reasonable diligence in time to have been
otherwise presented to the court, unless he was prevented from so presenting them by duress,
fear, or other sufficient cause "A writ of error coram nobis is a common-law writ of ancient
origin devised by the judiciary, which constitutes a remedy for setting aside a judgment which
for a valid reason should never have been rendered." 24 C.J. -S., Criminal Law. § 1610
(2004).“The principal function of the writ of error coram nobis is to afford to the court in
which an action was tried an opportunity to correct its own record with reference to a vital fact
not known when the judgment was rendered, and which could not have been presented bya
motion for a new trial, appeal or other existing Statutory proceeding.” Black's Law Dictionary.,
3rd ed., p. 1861; 24 C.J.S., Criminal Law, § 1606 b., p. 145; Ford v. Commonwealth, 312 Ky. 718,
229 S.W.2d 470.At common law in England, it issued from the Court of Kings Bench to a
judgment of that court. Its principal aim is to afford the court in which an action was tried an
opportunity to correct its own record with reference to a vital fact not known when the judgment
was rendered. It is also said that at common law it lay to correct purely ministerial errors of the
officers of the court. Furthermore, the above-mentioned “real party in interest” demands the
strict adherence to Article , Section one of the Constitution so that in all matters before
this court, the Full Faith and Credit shall be given in each State to the public Acts, Records, and
judicial Proceedings of every other State; and to Article'IV of the Articles of
Confederation, still in force pursuant to Article“VI of the National Constitution, so that
“Full faith and credit shall be given in each of these States to the records, acts, and judicial
proceedings of the courts and magistrates of every other State," selective incorporation
notwithstanding. The lex domicilii shall also depend upon the Natural Domicile of the above-
mentioned “real party in interest.” The lex domicilii, involves the "law of the domicile” inthe.
Conflict of Laws. Conflict is the branch of public law regulating all lawsuits involving a "foreign"
law element where a difference in result will occur depending on which laws are applied.

DECLARATION OF STATUS AND RIGHT OF AVOIDANCE

The above-mentioned “real party in interest” hereby declares the status of a “foreign state” as

- defined in 28 USC 1331(b)(1), as “a separate legal person, corporate or otherwise,” (in the
instant case, “otherwise”), (b)(2), “an organ (a vital part) of a foreign state” and (b)(3),
“neither a citizen of a State of the United States as defined in section 1332(c)” (a corporation,
an insurer, or the legal representative of a decedent, an infant or an incompetent), “nor created
under the laws of any third country.” Furthermore, the above-mentioned “Yeal party in interest”
is not an artificial, corporate “person” as defined and created by PUBLIC STATUTES, and is not

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a juristic person which may be “affected” by PUBLIC STATUTES; but, is invested with and bears
the status, condition and character of “a sovereign without subjects.” The above-mentioned
“real party in interest” is always and at all times present in his “asylum home state” of
DOMICILLE and inhabitance, which is “the common case of the place of birth, domicilium
originis,” also referred to as Natural Domicile, which is “the same as domicile of origin or
domicile by birth,” (See Johnson v. Twenty-One Bales, 13 Fed.Cas. 863; Black’s Law Dictionary,
4th edition), which is the source and the seat of his [her] sovereignty and immunity.

‘Accordingly, the above-mentioned “real party in interest” exercises his Right of Avoidance and
hereby rejects the offered commercial venture and declines to fuse with or to animate the above-
mentioned Defendant in Error, or to stand as STRAWMAN [PERSON], which is defined in
Barron's Law Dictionary, 4th edition, (1996), as “a term referred to in commercial and property
contexts when a transfer is made to a third party, the strawman [person], simply for the purpose
of retransferring to the transferor in order to accomplish some purpose not otherwise
permitted,” ie., obtaining jurisdiction over. the above-mentioned “real party in interest” or
relying upon the rebuttable presumption that the above-mentioned “real party in interest” is a
corporation. The definition also contains the admonition to “See dummy,” which, at that entry is
therein defined as “a strawman; ashain.” The above-mentioned party is, NOT a strawman, NOT
a sham, and is certainly NOT a dummy. This DECLARATION OF STATUS constitutes a
conclusive presumption, of which the court is bound to take NOTICE, that the “real party in
interest” is NOT a corporation; and, the administrative court can exercise no jurisdiction
whatsoever over the “real party in interest” or in the above-captioned case, but is duty-bound
according to the due process of the law, to which the above-mentioned “real party in interest” is
a belligerent claimant, and by the Rule of Law to DISMISS [OR REVERSE] it.

TABLE OF AUTHORITIES — PERSON

"This word ‘person’ and its scope and bearing in the law, involving, as it does, legal fictions and
also apparently natural beings, it is difficult to understand; but it is absolutely necessary to
grasp, at whatever cost, a true and proper understanding to the word in all the phases of its
proper use . . . A person is here not a physical or individual person, but the status or condition
with which he is invested... . not an individual or physical person, but the status, condition or
character borne by'physical persons . .. The law of persons is the law of status or condition." —-

American Law and Procedure, Vol. 13, page 137, 1910.

The following case citation declares the undisputed distinction in fact and at law of the
distinction between the term “persons,” which is the plural form of the term “person,” and the ©
word “People” which is NOT the plural form of the term “person.” The above-mentioned “real
party in interest” is NOT a subordinate “person,” “subject,” or “agent,” but is a “constituent,” in
whom sovereignty abides, a member of the “Posterity of We, the People,” in whom sovereignty
resides, and from whom the government has emanated: "The sovereignty of a state does not
reside in the persons who fill the different departments of its government, but in the People,
from whom the government emanated; and they may change it at their discretion. Sovereignty,
then in this country, abides with the constituency, and not with the agent; and this remark is
true, both in reference to the federal and state government." (Persons are not People).—Spooner
v. McConnell, 22 F 939, 943: "Our government is founded upon compact. Sovereignty was, and
is, in the people" —Glass v. Sloop Betsey, Supreme Court, 1794. "People of a state are entitled to
all rights which formerly belong to the King, by his prerogative.” --supreme Court, Lansing v.

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Smith, 1829. “The United States, as a whole, emanates from the people ... The people, in their
capacity as sovereigns, made and adopted the Constitution ...” ~Supreme Court, 4 Wheat 402.
“The governments are but trustees acting under derived authority and have no power to delegate
what is not delegated to them. But the people, as the original fountain might take away what
they have delegated and entrust to whom they please. ... The sovereignty in every state resides in
the people of the state and they may alter and change their form of government at their own
pleasure." —Luther v. Borden, 48 US 1, 12 LEd 581. "While sovereign powers are delegated to ...
the government, sovereignty itself remains with the people”--Yick Wo v. Hopkins, 118 U.S. 356,
page 370. "There is no such thing as a power of inherent sovereignty in the government of the
United States .... In this country sovereignty resides in the people, and Congress can exercise no
power which they have not, by their Constitution entrusted to it: All else is withheld." — Julliard
uv. Greenman, 110 U.S. 421. "In common usage, the term ‘person’ does not include the sovereign,
and statutes employing the word are ordinarily construed to exclude it." — Wilson v. Omaha
Indian Tribe 442 US 653, 667 (1979). "Since in common usage the term ‘person’ does not
include the sovereign, statutes employing that term are ordinarily construed to exclude it." —
U.S. v. Cooper, 312 US 600,604, 61 SCt 742 (1941). "In common usage, the term ‘person’ does
hot include the sovereign and statutes employing it will ordinarily not be construed to do so." -~
U.S. v. United Mine Workers of America, 330 U.S. 258, 67 SCt 677 (1947). "Since in common
usage, the term ‘person’ does not include the sovereign, statutes employing the phrase are
ordinarily construed to exclude it." ~ US v. Fox 94 US 315. "In common usage the word ‘person’
does not include the sovereign, and statutes employing the word are generally construed to
exclude the sovereign." -- U.S. v. General Motors Corporation, D.C, Ill, 2 F.R.D. 528, 530: The
following two case citations declare the undisputed doctrine, in fact and at law, that the word
(term of art) “person” is a “general word,” and that the “people,” of whom the above-mentioned
“real party in interest” is one, “are NOT bound by general words in statutes.” Therefore, statutes
do not apply to, operate upon or affect the above-mentioned “real party in interest:” "The word
~person' in legal terminology is erceived as a general word which normally includes
in its scope a variety of entities other than human beings., —-Church of Scientology v. US
Department of Justice 612 Fad 417, 425 (1979).

“The people, or sovereign are not bound by general words in statutes restrictive of
prerogative right, title or interest, unless expressly named. Acts of limitation do not bind the
King or the people. The people have been ceded all the rights of the King, the former sovereign
.-- It is a maxim of the common Jaw, that when an act is made for the common good and to
prevent injury, the King shall be bound, though not named, but when a statute is general and
prerogative right would be divested or taken from the King (or the People) he shall not be
bound.” -- The People v. Herkimer, 4 Cowen (NY) 345, 348 (1825): "In the United States,
sovereignty resides in people.” —Perry v. U.S. (294 US 330). "A Sovereign is exempt from suit,
not because of any formal conception or obsolete theory, but on the logical and practical ground
that there can be no legal Right as against the authority that makes the law on which the Right
depends.” --Kawananakoa v. Polyblank, 205 U.S. 349, 353, 27S. Ct. 526, 527, 51 L. Ed. 834
(1907).

TABLE OF AUTHORITIES — LACK OF JUDICIAL IMMUNITY

Thus, neither Judges nor Government attorneys are above the law. See United States v. Isaacs,
493 F. ad 1124, 1143 (7th Cir. 1974). In our judicial system, few more serious threats to
individual liberty can be imagined than a corrupt judge or judges acting in collusion outside of

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their judicial authority with the Executive Branch to deprive a citizen of his rights. In The Case
of the Marshalsea, 77 Eng. Rep. 1027 (K.B. 1613), Sir Edward Coke found that Article 39 of the
Magna Carta restricted the power of judges to act outside of their jurisdiction such proceedings
would be void, and actionable.

When a Court has (a) jurisdiction of the cause, and proceeds inverso ordine or erroneously,
there the party who sues, or the officer or minister of the Court who executes the precept or
process of the Court, no action lies against them. But (b) when the Court has not jurisdiction of
the cause, there the whole proceeding is before a person who is nota judge, and actions will lie
against them without any regard of the precept or process . . . Id. 77 Eng. Rep. at 1038-41.

A majority of states including Virginia (see, Va. Code §8.01-195.3(3)), followed the English
rule to find that a judge had no immunity from suit for acts outside of his judicial capacity or

jurisdiction. Robert Craig Waters, ‘Liability of Judicial Officers under Section 1983! 79 Yale L. J.

(December 1969), pp. 326-27 and 29-30).

Also as early as 1806, in the United States there were recognized restrictions on the power of
judges, as well as the placing of liability on judges for acts outside of their jurisdiction. In Wise v.
Withers, 7 U.S. (3 Cranch) 331 (1806), the Supreme Court confirmed the right to sue a judge for
exercising authority beyond the jurisdiction authorized by statute.

In Stump v. Sparkman, 435 U.S. 349 at 360 (1978), the Supreme Court confirmed that a
judge would be immune from suit only if he did not act outside of his judicial capacity and/or
was not performing any act expressly prohibited by statute. See Block, Stomp v Sparkman and
the History of Judicial Immunity, 4980 Duke L.J. 879 (1980). The Circuit Court overturned this
case and the judge was liable.

Judicial immunity may only extend to all judicial acts within the court’s jurisdiction and judicial
capacity, but it does not extend to either criminal acts, or acts outside of official capacity or in
the 'clear absence of all jurisdiction.’ see Stump v. Sparkman 435 U.S. 349 (1978). “When a
Judge knows that he lacks jurisdiction, or acts in the face of clearly valid Constitutional
provisions or valid statutes expressly depriving him of jurisdiction or judicial capacity, judicial
immunity is lost.” —Rankin v. Howard 633 F.2d 844 (1980), Den Zeller v. Rankin, 101 S.Ct.
2020 (1981).

As stated by the United States Supreme Court in Piper v. Pearson, 2 Gray 120, cited in Bradley
v. Fisher, 13 Wall. 335, 20 L.Ed. 646 (1872), 'where there is no jurisdiction, there can be no
discretion, for discretion is incident to jurisdiction.’ The constitutional requirement of due
process of the law is indispensable: "No person shall be held to answer for a capital, or otherwise
infamous crime, unless on a presentment or indictment of a Grand Jury, except in cases arising
in the land or naval forces, or in the Militia, when in actual service in time of War or public
danger; nor shall any person be subject for the same offence to be twice put in jeopardy of life or
limb; nor shall be compelled in any criminal case to be a witness against himself, nor be
deprived or life, liberty or property, without due process of law; nor shall private
property be taken for public use without just compensation." Article'V, National Constitution.
“A judgment can be void . . . where the court acts in a manner contrary to due process.” --Am
Jur 2d, §29 Void Judgments, p. 404. “Where a court failed to observe safeguards, it amounts to
denial of due process of law, court is deprived of juris." —Merritt v. Hunter, C.A. Kansas 170 Fed
739. “Moreover, all proceedings founded on the void judgment are themselves regarded as

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invalid.” —Olson v. Leith 71 Wyo. 316, 257 P.2d 342. “In criminal cases, certain constitutional
etrors require automatic reversal,” see State v. Schmit, 273 Minn. 78, 88, 139 N.W.2d 3

 

TABLE OF AUTHORITIES — RECIPROCAL IMMUNITY AND FOREIGN AGENT
REGISTRATION

UNITED STATES INTERNATIONAL ORGANIZATIONS IMMUNITIES ACT, PUBLIC
LAW 79-291, 29 DECEMBER 1945(Public Law 291-79th Congress) TITLE I Section
2..(b) International organizations, their property and their assets, wherever located and by
whomsoever held, shall enjoy the same immunity from suit and every form of Judicial process

as is enjoyed by foreign governments, except to the extent that such organizations may expressly
waive their immunity for the purpose of any proceedings or by the terms of any contract. (d) In
so far as concerns customs duties and internal-revenue taxes imposed upon or by reason of
importation, and the procedures in connection therewith; the registration of foreign agents; and
the treatment of official communications, the privileges, exemptions, and immunities to which
international organizations shall be entitled shall be those accorded under similar circumstances
to foreign governments.

Section 9. The privileges, exemptions, and immunities of international organizations and of
their officers and employees, and members of their families, suites, and servants, provided for in
this title, shall be granted notwithstanding the fact that the similar privileges, exemptions, and
immunities granted to a foreign government, its officers, or employees, may be conditioned
upon the existence of reciprocity by that foreign government: Provided, That nothing contained
in this title shall be construed as precluding the Secretary of State from withdrawing the
privileges exemptions, and immunities herein provided from persons who are nationals of any
foreign country on the ground that such counity is failing to accord corresponding privileges,

~ RESPONSE:

Only a response that meets the following criteria qualifies as a sufficient verified
response:

i, Any rebuttal must be made via a sworn affidavit, verified and/or affirmed bya

signature under the penalty of perjury, or by a signature under the full commercial
liability, of the affiant(s) thereof: and

2. Any response must be made as a presentment to the Notary Public named below,
under the Service by and respond to address given below, and received by said

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affiant(s) thereof will not be accepted and is deemed acquiescence and administrative default.
SILENCE IS ACQUIESCENCE.

Pursuant to Title 28 U.S.C. section 1745 (1) and executed “without the United States”, I
affirm under penalty and perjury under the laws of the united states of America that the
foregoing is true and correct to the best of my faith, belief and informed knowledge.
Respondents have TEN (10) days after the filing this Affidavit to:

A) Rebut these facts point by point, or
B) Admit to the Facts herein.

There is no “Option C’. As knowledge is ever expanding, the deponent may amend this
document at any time. And further deponent sayeth not. —

Respectfully prepared by your peaceful and responsible friend who is not at war or your enemy.

For The Record, To Be Read Into The Record -
Notice To Agent Is Notice To The Principal - Notice To The Principal Is Notice To The Agent.

In Good Faith, Truth and Honor,

{ Am: Darrell H Sorey, Living Natural Man, Sui Juris In Propria
Persona, All Rights Reserved without Prejudice/ 1-308; U.C.C. 1.
103

Authorized Agent for: Darrell H Sorey, a “Person”

Verified Affidavit

 

IN WITNESS WHEREOF, i, Darrell H Sorey, a real, live, flesh and blood, breathing, non-fictional,
non-corporate,

and organic being, born of a Natural Mother by natural live birth on land, do solemnly, sincerely, and
squarely Affirm that the foregoing facts contained in this constructive Judicial Notice By Affidavit of Special
Appearance are true to the best of my knowledge, Culture, Customs, and Beliefs, being actual, correct and
not misleading, etc. and being the Truth, The Whole Truth, and Nothing but the Truth.

The use of Notary below is for identification only and such use does NOT grant any jurisdiction to anyone
Please direct responses to third party public witness. Failure to cure will constitute, as an operation of
law, the FINAL admission of the facts set forth in the Presentment by Respondent(s) through tacit
procuration to the Presentment and the whole matter shall be deemed res judicata and stare decisis.

Response by Respondent(s) must be served on Claimant exactly as provided:

Darrell H Sorey
Notary Public

 

P.O. Box 265
Arnolds Park, lowa 51331

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Enclosure(s):
(1) This “Affidavit: Right to Travel and Public Records Notice”
(2) Commercial Security Agreement
(3) Property List
(4) Judicial Notice by Affidavit of Special Appearance
(5) Notary’s Certificate of Service dated (date you notarize and send this)

Further Affiant Sayeth Not.

Subscribed and sworn, without prejudice, and all rights reserved,

s (date) nad jeab
" , by Special Appearance in Propria Persona, Ali Rights Reserved Without Prejudice, U.C.C. 1-308;

U.C.C, 1-103
My Hand and Mark as Subscriber

    

 

Date: Juang 28. 20Jo_ Common taw Seal: On this 22 Day ofSune,

20 26, before me, The Notary Public in for Ber {OWA), personally appeared the above signed on
this instrument, and has acknowledged to me that he has executed the same.

Signed

Printed Name taf brotan

 

 

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